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4
     Attorney for Defendant
5    SHANNON ARMSTRONG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131-TLN
10                                           )
                         Plaintiff,          )   STIPULATION REGARDING EXCLUDABLE TIME
11                                           )   PERIODS UNDER SPEEDY TRIAL ACT;
     vs.                                     )   FINDINGS AND ORDER
12                                           )
     VALDEZ-TORRES et al.,                   )   Date: October 1, 2015
13                                           )   Time: 9:30 a.m.
                         Defendants          )   Judge: Honorable Troy L. Nunley
14                                           )

15

16         The United States of America through its undersigned counsel,

17   Christiaan Highsmith, Assistant United States Attorney, together with counsel

18   for defendant Roberto Gomez. Jr., Christopher R. Cosca, Esq., counsel for

19   defendant Leonel Ayon, David A. Torres, Esq., counsel for defendant Leobardo

20   Martinez-Carranza, Jesse Ortiz III, Esq., counsel for defendant Jason Rogers,

21   Michael Petrik, Jr., Esq., counsel for defendant Shannon Armstrong, John R.

22   Manning, Esq., counsel for defendant Bradley Ward, Toni L. White, Esq.,

23   counsel for defendant David Uhrig, Clemente Jimenez, Esq., counsel for

24   defendant William Welch, David A. Grow, Esq., counsel for defendant Michael

25   McGibbon, Dwight M. Samuel, Esq., and counsel for defendant Jesus Sicairos,

26   Jeffrey L. Staniels, Esq., hereby stipulate the following:

27         1.    By previous order, this matter was set for status conference on

28   July 30, 2015.
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1          2.    By this stipulation, the defendants now move to continue the status

2    conference until October 1, 2015 at 9:30 a.m., and to exclude time between

3    July 30, 2015 and October 1, 2015 under the Local Codes T-2 (unusual and

4    complex) and T-4 (to allow defense counsel time to prepare).

5          3.    The parties agree and stipulate, and request the Court find the

6    following:

7          a. Currently, the government has not yet provided discovery.     As the

8               court is aware, this is a “wire-tap” case wherein the government was

9               “up on” multiple phone lines (four phone lines).   Numerous federal

10              and local law enforcement agencies had been investigating the

11              individuals named in the indictment for several months prior to

12              their respective arrests.    On July 24, 2015, counsel for Mr.

13              Armstrong had a lengthy discussion with the government’s counsel

14              regarding the anticipated discovery. First, the government indicated

15              the discovery will be provided shortly.   Second, government counsel

16              indicated the discovery will be voluminous.   The government

17              indicated the defense should expect to receive several discs

18              containing hundreds of recorded phone calls (many are in Spanish and

19              will require translation).   Additionally, as noted herein, multiple

20              law enforcement agencies were involved in the investigation of this

21              matter.   As such, the government expects to produce hundreds of

22              pages of written reports.    Finally, the government expects to

23              produce hundreds of photos and videos.

24         b. Counsel for the defendants need additional time to review the

25              discovery, conduct investigation, and interview potential witnesses.

26         c. Counsel for the defendants believe the failure to grant a

27              continuance in this case would deny defense counsel reasonable time

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1               necessary for effective preparation, taking into account the

2               exercise of due diligence.

3          d. The government does not object to the continuance.

4          e. Based on the above-stated findings, the ends of justice served by

5               granting the requested continuance outweigh the best interests of

6               the public and the defendants in a speedy trial within the original

7               date prescribed by the Speedy Trial Act.

8          f. For the purpose of computing time under the Speedy Trial Act, 18

9               United States Code Section 3161(h)(7)(A) within which trial must

10              commence, the time period of July 30, 2015, to October 1, 2015,

11              inclusive, is deemed excludable pursuant to 18 United States Code

12              Section 3161(h)(7)(A) and (B)(ii) and(iv), corresponding to Local

13              Codes T-2 and T-4 because it results from a continuance granted by

14              the Court at the defendants' request on the basis of the Court’s

15              finding that the ends of justice served by taking such action

16              outweigh the best interest of the public and the defendants in a

17              speedy trial.

18         4.    Nothing in this stipulation and order shall preclude a finding that

19   provision of the Speedy Trial Act dictate that additional time periods are

20   excludable from the period within which a trial must commence.

21

22   IT IS SO STIPULATED.

23
     Dated:   July 27, 2015                      /s/ Christopher R. Cosca
24                                               CHRISTOPHER R. COSCA
                                                 Attorney for Defendant
25                                               Roberto Gomez, Jr.

26   Dated:   July 27, 2015                      /s/ David A. Grow
                                                 DAVID A. TORRES
27                                               Attorney for Defendant
                                                 Leonel Ayon
28
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1    Dated:   July 27, 2015                    /s/ Jesse Ortiz, III
                                               JESSE ORTIZ III
2                                              Attorney for Defendant
                                               Leobardo Martinez-Carranza
3
     Dated:   July 27, 2015                    /s/ Michael Petrik, Jr.
4                                              MICHAEL PETRIK, JR.
                                               Attorney for Defendant
5                                              Jason Rogers

6    Dated:   July 27, 2015                    /s/ John R. Manning
                                               JOHN R. MANNING
7                                              Attorney for Defendant
                                               Shannon Armstrong
8
     Dated:   July 27, 2015                    /s/ Toni L. White
9                                              TONI L. WHITE
                                               Attorney for Defendant
10                                             Bradley Ward

11   Dated:   July 27, 2015                    /s/ Clemente Jimenez
                                               CLEMENTE JIMENEZ
12                                             Attorney for Defendant
                                               David Uhrig
13
     Dated:   July 27, 2015                    /s/ David A. Grow
14                                             DAVID A. GROW
                                               Attorney for Defendant
15                                             William Welch

16   Dated:   July 27, 2015                    /s/ Dwight Samuel
                                               DWIGHT SAMUEL
17                                             Attorney for Defendant
                                               Michael McGibbon
18
     Dated:   July 27, 2015                    /s/ Jeffrey L. Staniels
19                                             JEFFREY L. STANIELS
                                               Attorney for Defendant
20                                             Jesus Sicairos

21

22   Dated:   July 27, 2015                    Benjamin B. Wagner
                                               United States Attorney
23
                                               by: /s/ Christiaan Highsmith
24                                             Christiaan Highsmith
                                               Assistant United States Attorney
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1
                                         ORDER
2
     IT IS SO FOUND AND ORDERED this 28th day of July, 2015.
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                                              Troy L. Nunley
7                                             United States District Judge
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